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                                                                                                                              f\LED
                                  Jud&lllCllt in a Criminal Case
 ...Ao 2458 (CASO) (Rev. 4 114)
            Sheet\

                                                                     OURT                                                    ERK us OIS1RICT COUA6RNIA
                                                                   s
                                              UNITED TATES DISTRICT C                                                      C\RN DISTRICT OF CAL~EP\.IT'f '

                                                    SOUTHERN DISTRICT OF CALIFORNlA
                                                                                 JUDGMENT IN A CRIMINAL CASE
                     UNITED STATES OF AMERICA                                    (For Offenses Committed On or After November 1, t 987)
                                         v.
                         REBECCA CHIEREZ {3]                                     CaseNumber: 16CR0158-BTM
                                                                                  JEREMY WARREN
                                                                                 Defendant's Attorney

   REGISTRATION NO. S1988298

   0
    THEDEFEND~NT:
    QS) pleaded guilty to count(s).:.33~0~F~TH~E~IN~D~IC~TMENT~~~~~~~~~~~~~~~~~~~~~~~-
    0 was found guilty oncount(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.                                       . .                   ·   ffi  ( )•
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the fo11owmg o ense s ·
                                                                                                                                           Count
                                                                                                                                          Number(s)
   Title & Section                         Nature or Offense
                                        POSSESSION OF METHAMPHETAMINE WITH INTENT TO DISTRIBUTE                                                 3
21USC846, 84l(a)(l)




        The defendant is sentenced SSJ>rovided in pages 2 through _ _4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
 D The defendant has been found not guilty on count(s)
 lgj Count(s) l of the Indictment                                  -----------------------------
                                                                                    is~       areQ dismissed on the motion of the United States.
 f8l Assessment: SIOO Waived and Remitted.

  l8f Fine waived                                       0 Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United Statcii Attorney ofany material change in the defendant's economic circumstances.
                                                                              January 27, 2017
                                                                              Date of Imposition of Sentence




                                                                             HOfr:ti.Y-]_~~.
                                                                             &                   TED MOSKOWITZ



                                                                                                                                             16CR0158-BTM
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    AO 24SB (CASO) (Rev. 4114) Judgment in a Criminal Case
               Sheet 2 - lmprisorunmt

                                                                                                Judgment -   i'ag•   2   of       4
     DEFENDANT: REBECCA CHIEREZ [3]
     CASE NUMBER: t6CR0158-BTM
                                                             IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
             TIME SERVED (12 MONTHS MINUS 2 DAYS)



        0 Sentence imposed pursuant to Title 8 USC Section 1326(b).                        ~I~~
                                                                                           B~         MOSKOWITZ
        0 The court makes the following recommendations to the Bureau of Prisons:           UNITED STATES DISTRICT JUDGE




        0 The defendant is remanded to the custody of the United States Marshal.
        0 The defendant shall surrender to the United States Marshal for this district:
            Oat                              Oa.m. op.m. on - - - - - - - - - - -
                   as notified by the United States Marshal.

         D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              0 before
                       -------------~-~--~~---~~----------
              0 as notified by the United States Marshal.
              D as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
     I have executed this judgment as follows:

             Defendant delivered on                                                to

     at - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL


                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                         16CR0158-BTM
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    AO 2438 (CASO) (Rev. 4/14) Judgment in a Criminal~
               Sheet 3 - Supcrvixd Release
                                                                                                                     Judgmenl---Pqe ___i_ of _ _4__
    DEFENDANT: REBECCA CIDEREZ [3)
    CASE NUMBER: 16CROI58-BTM                                                                                •
                                                                 SUPERVISED RELEASE
    Upon releruie from imprisonment. the defendant shall be on superv ised release for a term of;
    THREE (3) YEARS.

             The defendant sbilll report to the probation office in the district tO which the defendant is released within 72 hours of release from
    the custody of the Bureau of Pnsons.
    The defendant shall not commit another federal, state or local crime.
    For offenses commitmd on or after September 13, 1994:
    The defendant shall not illegally possess a controlled ~ubstance. The defendant shall refrain fr.om any unlawful use of a controlled
    substance. The def~ildant shall submit to ~ne drug.test within_IS days of release fro.m imf risonment and at least two periodic drug !ests
    thereafter ail determined by the court. Testing requirements will not exceed submission o more than 4 drug tests per month dunng
    the term of supervision, unless otherwise ordered by court.                                           -

    D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
              future s.ubstance abuse. (Check, ifapplicable.)
              The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
              The defendant shall cooperate in the collection ofa DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
              Bacldo.g Elimination Ad:of2Q00,J>W'SWli~t to 18 USC sections 3563(a}(7) ~ 3.S83(d).           .    .                             .           .
              The defendant shall comply with tlie requirements ofthe Sex Offender Registration ana Notdication Act (42 U.S.C. § 16901, ct seq. )~ directed
              by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which be or she reside$, works, is a student, or
              was convicted of a qualifying offense. (OJeck if applicable.)                ·
    D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     .         . If
                 this judgme!1t impos.e s a fine or restitution obligation, it is a condi~on of super:vised release th~t the defendant pay any such fine
    or restitution tha.t remams unpaid at the commencement of the term of supervised release m accordance with the Schedule of Payments set
    forth in this judgment.
             The defendant must comply with the standard conditions that have been adopted by this court. The defendant shat! also comply with
    any special conditions imposed.

                                               STANDARD CONDITIONS OF SUPERVISION
         1)     the defendant shall not leave the judicial district without the permission of the c;ourt or probation officer;
         2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
         4)     the defendant shall support his or her dependents· and meet other family responsibilities;
         S)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
         6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7)     the defendant shall refrain froni excessive use of alcohol and shall not purchase, possess, use, distribute, ot administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8)     the defendant shall not frequent places where controlled substances arc illegally sold, used, distributed, or administered;
         9)     the defendant shall not associate with .a ny persons engaged in criminal activity and shall not associate with any person convicted of
                a felony, unless granted permission to do so by the probation officer;
     10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
     11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)        the defendant shall not ente:r into any agreement t.o act as an informer or a special agent of a law enforcement agency without the
                permission of the court; and
     13)       .as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
                record or '-ersonal. history. or chartactc:risti~s and s~a.ll permit the probation officer to make such notifications and to confirm the
               defendant s compliance with such not1ficat1on requirement.

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         AO 24SB (CASO) (Rev. 4114) Judgment in a Criminal Case
                    Sheet 4- Special Conditions
                                                                                                          Judgment-~     --L.. of _ _4_____
         DEFENDANT: REBECCA CHIEREZ [3]
         CASE NUMBER: 16CR01~1-BTM                                                                   •

                                              SPECIAL CONDffiONS OF SUPERVISION
!VI Submit person. property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

181 Participate in a program of drug abuse treatment including testing and counseling, with at least 1 to 8 tests per month and I to 8 counseling
      sessions per month as directed by the probation officer.
0 Not transport, harbor, or assist undocumented aliens.
0 Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
0 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operateQ, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer. 1be Court authorizes the release of the pre-sentence
      report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
      consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.


0 Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
0 Provide complete di.sclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from openina checking accounts or incwring new credit charges or opening additional lines of credit without approval of the
      probation officer.
l8J Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within             days.
D Complete            hours ofcommunity service in a program approved by the probation officer within
D Reside in a Residential Reentzy Center (RRC) as directed by the probation officer for a period of
181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
      reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
      of supervision arc suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                     16CR0158-BTM
